              Case: 24-1504           Document: 50            Page: 1    Filed: 10/11/2024



FORM 8A. Entry of Appearance                                                                 Form 8A (p.1)
                                                                                                July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

                                   ENTRY OF APPEARANCE

          Case Number: 24-1504 & 24-1566
  Short Case Caption: CVB, Inc. v. United States, et al.

 Instructions: Refer to Fed. Cir. R. 47.3 for requirements governing
 representation and appearance in this court. Counsel must immediately file an
 amended Entry of Appearance if contact information changes and update
 information through PACER’s Manage My Account. Non-admitted government
 counsel should enter N/A in lieu of an admission date. Use the second page to
 add additional counsel.

 Party Information. List all parties, intervenors, amicus curiae, or movants
 represented by below counsel; “et al.” is not permitted.

           The Customs and International Trade Bar Association ("CITBA")

 Principal Counsel: Deanna Tanner Okun                                  Admission Date: 10/18/2016
 Firm/Agency/Org.: Polsinelli, PC
 Address:
            1401 I Street, NW Suite 800, Washington, D.C 20005

 Phone: 202-626-8329                             Email: dtokun@polsinelli.com
 Other Counsel: Brooke M. Ringel                                        Admission Date: 2/17/2012
 Firm/Agency/Org.: Kelley Drye & Warren LLP
 Address: Washington Harbour, Suite 400
            3050 K Street, NW, Washington, DC 20007

 Phone: (202) 342-8516                           Email: BRingel@KelleyDrye.com

 I certify under penalty of perjury that (1) the submitted information is true and
 accurate and (2) I am authorized to enter an appearance by all other listed counsel.
       10/11/24
 Date: _________________                              Signature:    /s/ Deanna Tanner Okun

                                                      Name:         Deanna Tanner Okun
                 Case: 24-1504              Document: 50       Page: 2    Filed: 10/11/2024



FORM 8A. Entry of Appearance                                                                  Form 8A (p.2)
                                                                                                 July 2020

                       [DO NOT SUBMIT THIS PAGE IF IT IS BLANK.]

 Other Counsel: Emily R. Beline                                          Admission Date: 5/10/2019
 Firm/Agency/Org.: FedEx Corporation
 Address: 101 Constitution Ave., NW, Suite 801 East
               Washington, D.C. 20001


 Phone: (202) 945-2162                                Email: emily.beline@fedex.com
 Other Counsel:                                                          Admission Date:
 Firm/Agency/Org.:
 Address:


 Phone:                                               Email:
 Other Counsel:                                                          Admission Date:
 Firm/Agency/Org.:
 Address:


 Phone:                                               Email:
 Other Counsel:                                                          Admission Date:
 Firm/Agency/Org.:
 Address:


 Phone:                                               Email:
 Other Counsel:                                                          Admission Date:
 Firm/Agency/Org.:
 Address:


 Phone:                                               Email:
